Case 2:24-cv-04055-JXN-LDW Document 42 Filed 05/21/24 Page 1 of 3 PageID: 311
                                                                          THREE GATEWAY CENTER
                                                                          100 Mulberry Street, 15th Floor
                                                                          Newark, NJ 07102
                                                                          T: 973.757.1100
                                                                          F: 973.757.1090
                                                                          WALSH.LAW

Liza M. Walsh
Direct Dial: (973) 757-1100
lwalsh@walsh.law

                                                       May 21, 2024

VIA ECF
Honorable Julien X. Neals, U.S.D.J.
U.S. District Court for the District of New Jersey
Martin Luther King Jr. Bldg. & U.S. Courthouse
50 Walnut Street
Newark, New Jersey 07102

        Re:      United States of America, et al. v. Apple Inc., No. 2:24-cv-04055 (JXN-LDW)

Dear Judge Neals:

       Pursuant to Your Honor’s Judicial Preferences and Procedures, Section IV.A., Apple Inc.
respectfully submits this letter to request a pre-motion conference prior to filing a motion to dismiss
the Government’s complaint under Federal Rule of Civil Procedure 12(b)(6).

          This case lies well beyond the outer limits of antitrust law. A Section 2 Sherman Act claim
can move past the pleadings only if the complaint alleges (1) monopoly power in a relevant
market; (2) anticompetitive conduct; and (3) anticompetitive effects. See, e.g., United States v.
Grinnell Corp., 384 U.S. 563, 570–71 (1966); Queen City Pizza, Inc. v. Domino’s Pizza, Inc., 124
F.3d 430, 437 (3d Cir. 1997). This complaint fails on all three fronts. The Supreme Court has
repeatedly held that the type of conduct at the core of this case—namely, Apple’s decisions about
how and whether to grant third parties access to its platform—does not give rise to Section 2
liability as a matter of law. The complaint also nowhere connects the restrictions it challenges to
any anticompetitive effects in the smartphone market. And regardless, far from being a
monopolist, Apple faces fierce competition from well-established rivals, and the complaint fails to
allege that Apple has the ability to charge supra-competitive prices or restrict output in the alleged
smartphone markets, let alone that it has the market share necessary to establish or infer market
power.

       This Court should reject the invitation to forge a new theory of antitrust liability that no
court has recognized, that would harm innovation, and that would only deprive consumers of the
key competitive features that make iPhone distinctive.

I.      The Complaint Does Not Allege Anticompetitive Conduct

        Supreme Court precedent forecloses the Government’s claims as a matter of law. All the
conduct the Government alleges to be anticompetitive involves Apple making unilateral decisions
about the terms and conditions on which to permit third parties access to Apple’s proprietary
platform. Citing five examples (including Apple policies no longer in effect), the complaint takes
issue with Apple’s decisions about what features and functionalities developers of so-called
“super apps,” cloud-streaming apps, messaging apps, smartwatches, and digital wallets can
Case 2:24-cv-04055-JXN-LDW Document 42 Filed 05/21/24 Page 2 of 3 PageID: 312
Honorable Julien X. Neals
May 21, 2024
Page 2

access on iPhone—even while conceding that Apple allows those products on its platform.
Compl. (ECF No. 1) ¶¶ 60–118. The Government suggests, for instance, that Apple should have
set different “conditions” for super apps and cloud-streaming apps in the App Store, id. ¶¶ 41, 60–
79, should offer third-party smartwatches and digital wallets greater access to iPhone features,
id. ¶¶ 100–03, 111–17, and should even develop a version of its proprietary iMessage service for
Android devices made by Apple’s competitors, id. ¶ 80. The Government’s theory of antitrust
liability fails at the threshold because the Supreme Court has made clear that a firm’s decisions
about the terms on which it chooses to deal with third parties do not constitute exclusionary
conduct under Section 2 of the Sherman Act. See Verizon Commc’ns Inc. v. L. Offs. of Curtis V.
Trinko, LLP, 540 U.S. 398, 408 (2004); Pac. Bell Tel. Co. v. linkLine Commc’ns, Inc., 555 U.S.
438, 448 (2009). “As a general rule, businesses are free to choose the parties with whom they
will deal, as well as the prices, terms, and conditions of that dealing.” linkLine, 555 U.S. at 448.
Applying those precedents, courts across the country reject antitrust claims premised on a
platform’s decisions about what level of “access” it will provide. See, e.g., Novell, Inc. v. Microsoft
Corp., 731 F.3d 1064, 1067–69 (10th Cir. 2013). Indeed, just last year, the D.C. Circuit rejected
on the pleadings the very theory articulated by the Government in this case. New York v. Meta
Platforms, Inc., 66 F.4th 288, 305–06 (D.C. Cir. 2023). Dismissal is likewise warranted here.

       The Government cannot evade these hurdles by invoking the one narrow exception to
these cases recognized in Aspen Skiing Co. v. Aspen Highlands Skiing Corp., 472 U.S. 585
(1985). That exception applies only when the defendant (1) unilaterally terminates a preexisting
course of dealing and (2) sacrifices short-term profits to harm long-run competition. Id. at 605–
08. The complaint alleges neither. Nor is this case at all comparable to United States v. Microsoft
Corp., 253 F.3d 34 (D.C. Cir. 2001), as the Government suggests. The anticompetitive conduct
there consisted of efforts by Microsoft (which unlike Apple held 95% of the global market in
operating systems) to restrict third parties’ activities off its platform, such as through exclusive
dealing requirements limiting how third parties could deal with others in the market. Apple, by
contrast, does not restrict third parties’ abilities to deal with competitors. The conduct here
concerns only Apple’s unilateral decisions about what others can do on Apple’s own platform.

        Finally, the Government’s other conduct-related allegations (about a litany of practices
spanning Apple’s entire business) fail basic pleading requirements. It cannot combine a series of
lawful practices to invent an antitrust claim where none exists. New York v. Facebook, Inc., 549
F. Supp. 3d 6, 46–48 (D.D.C. 2021). And the Government’s cursory and indiscriminate references
to various other Apple products and its speculation about future conduct, with no apparent
connection to any theory of harm, are all insufficiently developed to comply with federal pleading
requirements and must be rejected for that reason alone. Bell Atl. Corp. v. Twombly, 550 U.S.
544, 555 (2007).

II.    The Complaint Does Not Allege Substantial Anticompetitive Effects

       The complaint should also be dismissed for the additional, independent reason that the
Government has not plausibly alleged that Apple’s challenged conduct has substantial
“anticompetitive effects” in the smartphone market. See Mylan Pharms. Inc. v. Warner Chilcott
Pub. Ltd. Co., 838 F.3d 421, 438–439 & n.80 (3d Cir. 2016). The Government contends that
Apple’s design decisions “lock in” users to purchasing iPhones, but the complaint includes no
plausible allegations establishing a factual link between those decisions and consumers’
smartphone purchasing behavior. See Garshman v. Universal Res. Holding Inc., 824 F.2d 223,
231 (3d Cir. 1987). It is not plausible, for instance, that Apple’s policies surrounding the review
of cloud-streaming apps, the display of mini-programs, or the features that smartwatches can
Case 2:24-cv-04055-JXN-LDW Document 42 Filed 05/21/24 Page 3 of 3 PageID: 313
Honorable Julien X. Neals
May 21, 2024
Page 3

access somehow have kept consumers “locked in” to the iPhone. If anything, the opposite seems
more plausible: Someone unhappy with Apple’s limitations has every incentive to switch to
competitor platforms that ostensibly do not have those limitations. Far from harming competition,
the conduct challenged here—where Apple has opted to offer users a curated, secure, and
reliable experience, in contrast to its competitors’ more open platforms—are examples of zealous
competition on the merits that differentiate Apple’s products in the marketplace and enhance
consumer choice.

III.   The Complaint Does Not Allege Monopoly Power In A Relevant Market

        The Government also fails to properly define the relevant market or establish that Apple
has monopoly power in it. Harrison Aire, Inc. v. Aerostar Int’l, Inc., 423 F.3d 374, 380 (3d Cir.
2005). First, the alleged markets are legally disconnected from the challenged conduct. While
the complaint seeks to define two hardware markets (smartphones and “performance”
smartphones), the alleged anticompetitive conduct purportedly occurred in other markets, such
as Apple’s policies and practices concerning messaging apps, cloud-streaming apps, digital
wallets, and smartwatches. Those products all exist in their own separate markets with their own
competitive dynamics, and the Government’s failure to define the proper market for those
products is fatal.

         Second, even if the alleged conduct occurred in the smartphone markets, Apple does not
wield monopoly power in those markets. As the Government concedes, Apple faces stiff
competition from Google, owner of the world’s dominant mobile operating system, and Samsung,
the global leader in smartphone sales. The complaint nowhere alleges (as it must) that Apple can
charge durable supra-competitive prices or restrict output in the alleged smartphone markets
without simultaneously giving advantages to Samsung and Google that would quickly render such
conduct untenable. Further, the Government’s alleged market shares are contrary to economic
reality (Apple has approximately 20% of the global market share by unit) and fall well short of
monopoly levels: the Supreme Court has never found monopoly power with “less than 75%
market share.” Kolon Indus. v. E.I. DuPont de Nemours & Co., 748 F.3d 160, 174 (4th Cir. 2014).
The so-called “performance” smartphone market is also an invented definition divorced from
reality.

      Finally, the attempted-monopolization claims also should be dismissed because the
complaint does not plausibly allege that Apple had the requisite intent to monopolize the alleged
markets. Phila. Taxi Ass’n v. Uber Techs., Inc., 886 F.3d 332, 341 (3d Cir. 2018).

       For these reasons, this Court should dismiss the Government’s complaint.

                                                    Respectfully submitted,
                                                    /s/ Liza M. Walsh
                                                    Liza M. Walsh



 cc:      All Counsel of Record (via ECF and E-Mail)
